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      In The United States Court of Federal Claims
                                         No. 07-206C

                                    (Filed: April 8, 2011)
                                         __________

LUBLIN CORPORATION, t/a CENTURY 21,
ADVANTAGE GOLD,

                            Plaintiff,

      v.

THE UNITED STATES,

                            Defendant.

                                         __________

                                          ORDER
                                         __________

        Trial in this case will commence at 9:30 a.m. (EDT) on Wednesday, November 2, 2011,
at the United States Court of Appeals for the Third Circuit, James A. Byrne United States
Courthouse, 601 Market Street, Seitz Courtroom.

       IT IS SO ORDERED.




                                                  s/Francis M. Allegra
                                                  Francis M. Allegra
                                                  Judge
